                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                   3:15-CR-00250-RJC
 USA                                              )
                                                  )
     v.                                           )                ORDER
                                                  )
 HECTOR MERAZ (2)                                 )
                                                  )

          THIS MATTER is before the Court on the defendant’s pro se letter asking for the return

of seized property, (Doc. No. 83).

          Now that he has been sentenced, the defendant seeks the return of an Apple laptop and an

iPhone seized at the time of his arrest. (Doc. No. 83: Motion at 1). At the defendant’s sentencing

hearing and in response to a similar motion by a co-defendant, the government stated its

intention to return the items when the convictions of all co-defendants are final, (Doc. No. 77:

Response at 1), even though the defendant stipulated to their forfeiture in his plea agreement,

(Doc. No. 46 at ¶ 9). One co-defendant remains pending for sentencing and the defendant’s time

to appeal has not run. Thus, the Court finds that the instant motion is premature.

          IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 83), is

DENIED without prejudice to be re-filed, if necessary, when the convictions of all co-

defendants are final.

 Signed: September 8, 2016




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